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IN THE UNITED STATES DISTRICT COURT Ase yLED
FOR THE WESTERN DISTRICT OF NORTH CAROLINA ‘ENG
Civil Action No. 1:21-cv-305-MR-WCM Rg 5 2 124
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BROTHER T. HESED-EL W. digo TRicy
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OF a

Plaintiff, PLAINTIFF'S NOTICE OF FILING OF

v. REDACTED DOCUMENT

ROBIN BRYSON, et al,

Defendants.

COMES NOW, Brother T. Hesed-E] (“Plaintiff”), pursuant to the Joint Consent Motion to
Seal [Doc, 169], and files the redacted version of Doc, 162.

NOTICE TO CLERK

The original version of Doc. 162 should be sealed and restricted from access except to the

Court and parties.

Respectfully, this 26'" day of Ramadan in the year 1445 A.H.

c/o TAQI EL AGABEY MANAGEMENT
30 N Gould St, Ste. R, Sheridan, WY 82801
Ph: (762) 333-2075 / teamwork3(@gmail.com

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CERTIFICATE OF SERVICE

This certifies that a true and correct copy of PLAINTIFF’S NOTICE OF FILING OF
REDACTED DOCUMENT has been sealed in an envelope with sufficient postage affixed thereon,
and deposited into the exclusive custody of the United States Post Office, to ensure delivery to:

Robin Bryson and Mission Hospital Inc.
% Attorney Daniel H. Walsh
ROBERTS & STEVENS, P.A.
Post Office Box 7647

Asheville, North Carolina 28802
dwalsh@roberts-stevens.com

This 5 day of April in the year 2024 of the Gregorian calendar.

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